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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

BRITTANY McGAHEE                             )
                                             )
        Plaintiff,                           )     CIVIL ACTION NO.
                                             )     1:16-CV-01118-ELR
v.                                           )
                                             )
DIVINE BEHAVIORAL SERVICES,                  )
INC. d/b/a ONE COMMUNITY                     )
BEHAVIOR HEALTH SERVICES and                 )
ADIB SHAKIR,                                 )
                                             )
        Defendants.                          )
                                             )

                              DEFAULT JUDGMENT

        This action having come before the Court, Honorable Eleanor L. Ross,

United States District Judge, for consideration of Plaintiff’s Motion for Default

Judgment against Defendants, and the Court having granted said motion, it is

hereby

        ORDERED AND ADJUDGED that:

     a) Plaintiff is granted a judgment against Defendants jointly and severally in

        the amount of $56,548.53 (which includes $5,197.58 in unpaid overtime,

        $5,197.58 in liquidated damages, and $46,153.37 in attorneys’ fees and

        costs); and


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   b) Plaintiff is granted a judgment against Defendant Divine Behavioral

      Services, Inc. d/b/a One Community Behavior Health Services for an

      additional $4,761.75 (which includes $1,961.75 in regular rate damages and

      $2,800 in attorneys’ fees associated with the regular rate damages).

      Dated at Atlanta, Georgia this 18th day of December, 2017.


                                                  JAMES N. HATTEN
                                                  CLERK OF COURT

                                            By:   s/ Charlotte Diggs
                                                     Deputy Clerk


Prepared, Filed and Entered
in the Clerk’s Office
    December 18, 2017
James N. Hatten
Clerk of Court

By: s/ Charlotte Diggs
       Deputy Clerk




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